                       UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

TIMOTHY J. FAST,
on behalf of himself and all
others similarly situated,

                Plaintiff,

v.                                                    Case No.: 16-CV-1637

CASH DEPOT, LTD.,

            Defendant.
______________________________________________________________________________

                DECLARATION OF JODI ARNDT LABS IN SUPPORT OF
             DEFENDANT'S RESPONSE TO PLAINTIFF’S RULE 7(h) MOTION

     I, Jodi Arndt Labs, declare as follows:

        1.      I am a shareholder and attorney at the Law Firm of Conway, Olejniczak & Jerry,

S.C., legal counsel for Defendant, Cash Depot, Ltd. (“Cash Depot”).

        2.      I submit this Declaration in Support of Defendant’s Response to Plaintiff’s Rule

7(h) Motion.

        3.      Our office assisted Cash Depot in preparing correspondence to its current and

former employees concerning the additional overtime wages that Schenck had determined were

due and owing to such individuals.

        4.      Attached as Exhibit 1 is a true and correct copy of the letter that was distributed

to all individuals who were employed with Cash Depot as of the May 20, 2017 payroll. This

letter was included with each employee’s payroll check on May 20, 2017.

        5.      Attached as Exhibit 2 is a true and correct copy of the letter that was mailed to all

former employees who Schenck determined Cash Depot owed additional wages to; the letter was




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mailed to former employees on May 25, 2017. The attached letter includes an “optional”

sentence that was only included in those letters mailed to individuals that Schenck had

determined Cash Depot owed less than $10.00 in wages (see highlighted sentence).

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed this 28th day of August, 2017 at Green Bay, Wisconsin.


                                               /s/ Jodi Arndt Labs.___




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